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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          CASE NO .   10-80149-CR-M ARR A (s)(sà


  U N ITED STAT ES O F A M ER ICA




   CYNTHIA CADET,M .D.and
   JO SEPH CASTRONUOVO ,M .D.,

                Defendants.
                                      /

                              COURT'S JURY INSTRUCTIONS

   M em bersofthe Jury:
         Itisnow my duty to instructyou on therulesof1aw thatyou m ustusein deciding this

   case.AfterI'vecompletedtheseinstructions,youwillgotothejuryroom andbeginyour
   discussions--whatwecallyourdeliberations.
         You mustdecidewhetherthe Govem menthasproved thespecitk factsnecessaryto find

   theDefendantsguilty beyond areasonable doubt.
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                                                                                                      j)
                                                                                                      :
                                                                                                       i
         Yourdecision m ustbebased only                                                               !
                                          on the ontheevidencepresented duringthetrial. You           )
                                                                                                      (E

   mustnotbeintluencedinanywaybyeithersympathyfororprejudiceagainsttheDefendantsor                    '
                                                                                                      i
                                                                                                      (
                                                                                                      .

   theGovernment.
                                                                                                      ;
         Youm ustfollow thelaw aslexplain it-even ifyou do notagreewith thelaw and you
                                                                                  -
                                                                                                      ;
                                                                                                      '
                                                                                                      y
  m ustfollow allofmy instructionsasa whole. You mustnotsingleoutordisregard any ofthe

  Court's instnzctionson thelaw .                                                                     E

                                                                                                  l
         TheSecondSupersedinglndictmentorformalchargeagainstaDefendantisnotevidence               1.
                                                                                                  j
                                                                                                  'l
                                                                                                  !

  ofguilt.The1awpresumeseverydefendantisinnocent.TheDefendantsdonothavetoprove                    j
                                                                                                  è
  their innocenceorproduceany evidence atall. A Defendantdoesnothavetotestify and ifa             :
                                                                             ,                    :
  Defendantch                                                                                     t
             oosesnotto testify,you cannotconsiderthatin any way while making your
                                                                                                  ;
                                                                                                  r
  decision.The Govermnentmustprove guiltbeyond areasonabledoubt                                   l
                                                                   .
                                                                       Ifitfailstodoso,you    j
  mustfind theDefendantnotguilty.                                                             t
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         TheGovelmm ent'sburden ofproofisheavy,butitdoesn'thaveto provea Defendant's

   guilty beyond a1lpossibledoubt.The Governm ent'sproofonly hasto excludeany içreasonable

   doubt''concerning theDefendants'guilt.

         A Streasonabledoubt''isarealdoubt,based on yourreason and comm on senseafter

   you'vecarefully and impartially considered al1the evidenceinthecase.

          Slproofbeyond areasonabledoubt''isproofso convincing thatyou would bewillingto

   rely and acton itwithouthesitation in the mostim portantofyourown affairs.lfyou are

   convinced thataDefendanthasbeen proved guilty beyond areasonabledoubt,say so.lfyou are

   notconvinced,say so.




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         AsIsaid before,you m ustconsideronlytheevidencethatIhave admitted in thecase.

   Evidenceincludesthetestim ony ofwitnessesand the exhibitsadm itted.But,anythingthe

   lawyerssay isnotevidenceand isn'tbinding onyou.
          You shouldn'tassumefrom anything lhavesaid thatlhave any opinion aboutany factual

   issue in thiscase. Exceptformy instructionsto you onthelaw,you should disregard anything 1

   may have said duringthetrialin arriving atyourown decision aboutthefacts.

          Yourownrecollection and interpretation oftheevidence iswhatm atters.

          ln consideringtheevidenceyou m ay usereasoningand comm on sensetom ake

   deductionsand reach conclusions.You shouldn'tbe concerned aboutwhethertheevidenceis

   directorcircum stantial.
          ûsDirectevidence''isthe testimony ofaperson who assertsthathe orshe hasactual

   know ledge ofa fact,such as an eye witness.
          Cfcircum stantialevidence''isproofofachain offactsand circum stancesthattend to

    prove ordisprove a fact. There'sno legaldifferenceintheweightyou may giveto eitherdirect

    orcircum stantialevidence.
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          W hen 1sayyou m ustconsidera11ofthe evidence,1do notm ean thatyou m ustacceptall

   ofthe evidenceastnleoraccurate.You should decide whetheryou believewhateach witness

   had to say,andhow im portantthattestim onywas.In making thatdeeision you may believeor

   disbelieveany witness,in whole orin part. Thenum berofwitnessestestifying concerning any

   particularpointdoesn'tnecessarily m atter.

          To decidewhetheryou believeany witnessIsuggestthatyou ask yotzrselfafew

   questions:

                 Did thewitnessimpressyou asonewho wastelling thetruth?

                 D id the w itness have any particularreason notto tellthe truth?

                 Did the w itness have a personalinterestin the outcom e ofthe case?

                 D id the w itness seem to have a good m em ory?

          @      Did thewitnesshavetheopportunity and ability to observe accurately thethings

                 heorshetestified about?

                 D id the w itness appearto understand the questionsclearly and answ erthem

                 directly?

                 D id the w itness'stestim ony differ from othertestim ony orotherevidence?
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         You mustconsidersom ewitnesses'testim onywith more caution than others.

         In thiscase,the Govenunenthasmadeapleaagreementwith a Codefendantin exchange

   forhis orhertestim ony. Such lipleabargaining,''asit'scalled,providesforthepossibilityofa
   lessersentencethan theCodefendantwould norm ally face.Pleabargaining islawfuland proper,

   andtherulesofthisCourtexpresslyprovideforit.

          Butawitnesswho hopesto gain more favorabletreatm entm ay have areason to make a

   falsestatementin orderto strikea goodbargain with the Governm ent.

          So,while awitnessofthatkind m ay beentirelytruthfulwhen testifying,you should

   considerthattestim ony withm orecautionthan thetestim onyofotherwitnesses.

          And thefactthatawitnesshaspleaded guiltyto an offense isn'tevidenceofthe guiltof

   any otherperson.




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          Y ou m ustconsidersom e w itnesses'testim ony with m ore caution than others.

          Forexample,awitnessmay testify abouteventsthatoccurred dlzring atime whenthe

  w itnessw asusing addictive dnlgs,and so the w itnessm ay have an im paired m em ory ofthose

   events.And awitnesswho could havebeen charged butwasnotmay hopeto getm orefavorable

  treatmentin hisorherown caseand may haveareason to makeafalsestatem entin orderto

   strike a good bargain w ith the G overnm ent.

          So while awitnessofthatkind may beentirely truthfulwhen testifying,you should

   considerthattestim onywith more caution thanthetestimony ofotherwitnesses.




                                                   7
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         lftheGovernm entoffersevidencethataDefendantmadea statem entoradm issionto

   someone,you m ustconsiderthatevidencewith caution and greatcare.

         Youmustdecideforyourself(l)whethertheDefendantmadethestatement,and(2)ifso,
   how much weightto giveto it.Tom akethesedecisions,you mustconsideral1theevidence

   aboutthestatement- includingthecircum stancesunderwhich itwasm ade.




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         You should also ask yourselfwhetherthere wasevidencethatawitnesstestified falsely

   aboutan importantfact.And ask whetherthere wasevidence thatatsom eothertimea witness

   said ordid som ething,ordidn'tsay ordo something,thatwasdifferentfrom thetestimony the

   witnessgaveduringthistrial.
         Todecide whetheryou believe awitness,you mayconsiderthe factthatthe witnesshas

   been convicted ofafelonyoracrim einvolving dishonestyora false statem ent.

          Butkeep in m ind thata simple mistakedoesnotmean awitnesswasnottelling thetruth

   asheorsherem embersit.Peoplenaturally tendto forgetsom ethingsorrememberthem

                   So,ifawitnessmisstated something,you mustdecidewhetheritwasbecauseofan
   inaccurately.
   innocentlapse in memory oran intentionaldeception.Thesignificanceofyourdecision m ay

   depend on whetherthem isstatementisaboutan importantfactoraboutan unim portantdetail.




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           W hen scientific,technicalorotherspecializedknowledgem ightbe helpful,aperson who

    hasspecialtrainingorexperience in thatfield isperm itted to state an opinion aboutthem atter.

           Butthatdoesn'tm ean you mustacceptthewitness'sopinion.Asw ith any otherwitness's

    testimony,you m ustdecidewhetherto rely upontheopinion.




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         W hile statem entsand argum entsofcounselgenerally arenotevidencein thecase,ifa

   statementismadeasan adm ission orstipulation offact,itisevidence.W hen theattorneyson

   both sidesstipulate oragree asto theexistenceofa fact,you m ust,unlessothem iseinstructed,

   acceptthe stipulation asevidence,and regard thatfactasproved.
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          TheSecond Superseding lndictm entchargeseightseparatecrim es,called itcounts,''

   againsttheDefendant.Each counthasanum ber.You'llbe given a copy ofthe Second

    SupersedingIndictmenttorefertoduringyourdeliberations. DefendantCYNTHIA CADET is

    charged in counts1,3-9 and 13.DefendantJOSEPH CASTRONUOVO ischarged in counts1,

    10,11and 13.

           Count1chargesthattheDefendantsCADET and CASTRONUOV O knowingly and

    willfully conspired with oneanotherand with othersto distribute,dispense,orposseswith the

    intentto distributeordispense,Oxycodone withoutauthorization by law . Counts3-9 charge

    whatarecalled ttsubstantiveoffenses'',specificallythatDefendantCADET knowingly and

    intentionally distributed,dispensed,orpossessed with intentto distribute ordispense,controlled

    substances,and asto Counts3-5 and 7-9,thatdeath resulted from theuseofone ofthecontrolled

    substancesthatweredistributed ordispensed in thosecounts.Counts 10 and 11 also chargewhat

    arecalled çssubstantiveoffenses'',specifically thatDefendantCASTRONUOVO knowingly and

    intentionally distributed,dispensed,orpossessed with intentto distribute ordispense,

    Oxycodone,and thatdeath resulted from the use ofthe Oxycodone thatwasdistributed or

    dispensed in those counts.Count13chargesthattheDefendantsCADET and CASTRONUOVO

    knowingly and willfully conspired with one anotherand with othersto engagein money

    laundering.Iwillexplain the1aw governingthosesubstantiveoffensesin am oment.

           But,firstnote thattheDefendantsare notcharged in Counts 1and 13 with comm itting a

    substantive offense -they are charged w ith conspiring to com m itthose offenses.

           Iwillalso giveyou specificinstructionson conspiracy.

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          Title 18,U nited StatesCode,Section 846 m akes ita separate Federalcrim e foranyone to

   conspire or agree w ith som eone else to do som ething w hich,ifactually carried out,w ould be a

   violationofTitle18,United StatesCode,Section 841(a)(1).Section 841(a)(1)makesitacrime
   foranyoneto knowingly distribute,dispense,orposseswith the intentto distributeordispense,

   oxycodone.

          A dçconspiracy''is an agreem entby tw o orm ore personsto com m itan unlaw fulact. ln

   otherwords,itisakind ofpartnership forcriminalpurposes.Everym em beroftheconspiracy

   becomesthe agentorpartnerofevery otherm ember.

          The G overnm entdoesnothave to provethatal1ofthe people nnm ed in the Second

    Superseding Indictm entwerem embersoftheplan,orthatthosewho werem em bersmadeany

   kind ofform alagreem ent. The heartofa conspiracy isthe m aking ofthe unlaw fulplan itself,so

   the G overnm entdoes nothave to prove thatthe conspirators succeeded in canying outtheplan.

          The Defendantscan be found guilty only ifal1ofthe follow ing facts are proved beyond a

    reasonable doubt:

                  Two orm ore people in som e w ay orm anner cmne to a m utualunderstanding to
                  try to accom plish a com m on and unlaw fulplan as charged in the indictm ent;


                  TheDefendantts)knew theunlawfulpurposeoftheplanandwillfullyjoined init;
                  and


                  Theobjectoftheunlawfulplanwastodistribute,dispense,orposseswiththe
                  intentto distribute ordispense,O xycodone.
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          Thelaw governing the substantive offenseofknowingly and intentionally distributing,

   dispensing orpossessing a controlled substancewillbeprovided to you shortly.

          A person m ay bea conspiratoreven withoutknowing a11the detailsoftheunlawfulplan

   orthe namesand identitiesofallthe otheralleged conspirators.

          lftheDefendantplayed only am inorpartin theplan buthad ageneralunderstandingof

   theunlawfulpurposeoftheplan -andwillfullyjoinedintheplanonatleastoneoccasion-that's
   sufficientforyou to tind the D efendantguilty.

          Butsim ply being presentatthe sceneofan eventorm erely associating with certain

   peopleand discussing comm on goalsand interestsdoesn'testablish proofofa conspiracy.Also

    aperson who doesn'tknow abouta conspiracy buthappensto actin away thatadvancessome

    purpose ofone doesn'tautom atically becom e a conspirator.




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           CûGoodFaith''isacompletedefenseto the chargeofconspiracy to unlawfully distribute

   oxycodone sincegood faith on thepartoftheDefendantsisinconsistentwith knowingly and

   willfully conspiring to knowingly and wilfully dispenseoxycodonenotfora legitim atemedical

   pup ose.IftheDefendantactedin good faith,sincerelybelievingthatheorshewasacting

   within thelaw ,then theDefendantdid notintentionallyviolatea known legalduty,thatisthat

   Defendantdid notactwillfully.Theburden ofproofisnoton the Defendantto prove good faith,

   Defendantdoesnotneed to prove anything.TheGovermnentmustestablish beyond areasonable

    doubtthatDefendantsacted with thespecificintentto participatein a conspiracy ascharged in

    the indictm ent.

           lntentand motivem ustnotbeconfused.diM otive''iswhatprom ptsaperson to act.''ltis

    w hy the person acts.

           dtlntent''refersto thestateofmind with which theactisdone.

           Ifyou find beyond areasonabledoubtthataDefendantspecifically intendedto do

    som ething thatisagainstthe1aw and voluntarily com mittedtheactsthatm akeup thecrime,then

    theelem entofidwillfulness''issatisfied,even iftheDefendantbelieved thatviolating the law was

    required orthatultimategood would result.

            TheDefendant'sassertion thathe orshe wasactingupon agood faith beliefthatheorshe

    wasactingin accordancewith whathe orshe believed tobealegitim atem edicalpurposeisonly

    applicabletoCount1ofthe Second Superseding Indictment,which chargesconspiracy to

    distribute,dispense,orpossessionto distribute ordispense,controlled substances,and isonly
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   applicableto whetherhisorheractionswereundertaken foralegitimatem edicalpum ose.This

   defense isnotapplicableto whethertheDefendantacted withing the usualcourse ofprofessional

   practice. Italso isnotapplicable to Counts3 tluough 11,which chargetheD efendantswith

   distributing ordispensing,orpossessing with intenttodistributeordispense,controlled

   substances.




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          Proofofseveralseparate conspiraciesisn'tproofofthe single,overallconspiracy charged

    in theindictm enttmlessoneofthe severalconspiraciesproved isthesingle overallconspiracy.

           Youmustdecidewhetherthesingleoverallconspiracychargedexistedbetweentwoormore

    conspirators.Ifnot,then you find the Defendantsnotguilty ofthatcharge.

           Butifyou decidethata single overallconspiracy did exist,then you m ustdecidewho the

    conspiratorswere.And if you decide thata particularDefendantwas a mem ber ofsom e other

    conspiracy - nottheone charged - then you mustfindthatDefendantnotguilty.

           So to find a Defendantguilty,you musta1lagree thatthe Defendantwasa memberofthe

    conspiraey charged - notam emberofsom eotherseparateconspiracy.
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          AsitconcernsCounts3through 11and thecrimeunderlying theconspiracy charge in

    Count1,Title21,UnitedStatesCode,Section 841(a)(1),whichistheControlledSubstances
    Act,makesitaFederalcrime oroffense foranyoneto unlawfully distributeordispense,or

    possesswith intentto distributeordispense,aitcontrolled substance.''Oxycodone and

    Alprazolam arecontrolled substanceswithin themeaning ofthe law .

          TheDefendantcan befound guiltyofeach offensecharged only ifallofthefollowing

    factsareproven beyond a reasonable doubt:

           First-        TheDefendantdistributed ordispensed,orpossessed with intentto
                         distribute ordispense,notfora legitim atemedicalpurposeoroutsidethe
                         usualcourse ofprofessionalpractice,thecontrolled substance,ascharged;
                         and

           Second:        ThattheDefendantdid so knowingly and intentionally.

           To lddistribute''meansto delivera controlled substanceto anotherperson,with,or

    w ithoutany financialinterestin the transaction.

           To Stdispense''m eansto deliveracontrolled substanceto an ultim ateuserorresearch

    subjectby,orpursuanttoalawfulorderof,apractitioner,includingtheprescribingand
    adm inistering ofacontrolled substanceand the packaging,labeling,orcompounding necessary

    to prepare the substance fordelivery. The tenn,dtdispenser''m eansa practitionerw ho so delivers

    acontrolledsubstanceto anultimateuserorresearchsubject.




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           Theterm Stpractitioner''meansaphysician,pharm acistorotherperson licensed,

    registered,orotherwisepermittedbytheUnitedStatesorthejurisdictionin whichheorshe
    practicesto distribute ordispense,orcauseto bedistributed ordispensed,controlled substances

    in the course ofprofessionalpracticeorresemvh.

           The law providesthatpersonsregistered by theAttorney GeneralunderTitle21to

    m anufacture,distribute,ordispensecontrolled substancesare authorized to possess,

    manufacture,distributeordispensesuch substancesto the extentauthorized by theirregistration.

    A medicaldoctororphysician isexem pted from theprohibitionsofSection 841whenheorshe

    issues a prescription fora legitim ate m edicalpurpose w ithin the usualcourse ofprofessional

    practice.

           A controlled substanceisprescribed by aphysician in the usualcourse ofprofessional

    practiceand,therefore,lawfully,ifthesubstance isprescribed byhim aspartofhisorher

    m edicaltreatm entforthepatientin accordancewith thestandardsofmedicalpracticegenerally

    recognized and accepted intheUnited States. Theappropriatestandard ofcareisbased on the

    knowledge,circum stancesand standardsthatarerecognized asacceptableand appropriateatthe

    timethephysician acted.The factthatbad resultsfollow treatmentrendered by aphysician does

    not,in itself,mean thatthephysician'sconductfellbelow theappropriatestandard ofcare.

            Thus,a m edicaldoctorhas violated the Controlled SubstancesA ctwhen the governm ent

    hasproved,beyond areasonabledoubt,thatthe doctor'sactionswerenotforlegitimatemedical

    purposesorw ere outside the usualcourse ofprofessionalpractice.


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          Itwould notbelegally sufficientfortheUnited Statesto show thattheDefendant's

   conductconstituted m edicalm alpracticeorthatthey acted negligently. Again,Defendantsare

   charged with knowinglyand willfully prescribing controlled substancestohisorherpatients

   outside theusualcourse ofprofessionalm edicalpracticein violation ofthe Controlled

   Substances Act.

          lfyou tind theDefendantguilty ofany ofthe offensescharged in Counts3-5 and 7-11,

    you willthenhaveto detenninebeyond areasonabledoubtifdeath resulted from theuseofthe

    controlled substancesalleged in thecount.

           AsitconcernsCounts3 -5and 7 -11,the law providesthatwheneverdeath orserious

    injuryisaresultofthevidim'suseofacontrolledsubstancethathasbeendistributedor
    dispensed bytheDefendant,notforalegitim atemedicalpurposeoroutsidethe scopeof

    professionalmedicalpractice,amore seriousoffenseiscomm itted,regardlessofwhetherthe

    Defendantknew orshould haveknown thatdeath would result. ln consideringthesecounts,each

    countasto eachphysician m ustbeconsidered separately.ln doing so,you mustfirstdetermine

    beyond areasonable doubtwhetherthe controlled substanceprescribed bythephysician wasthe

    same controlled substance ingestedby thedecedentorperson who died.lfnot,then you must

    findthephysiciannotguiltyofthatcount.Ifso,thenyoumustdeterminewhether,butfor(hadit
    notbeenfor)theingestionofthecontrolled substanceprescribedbythephysician,thedecedent

    w ould nothave died.

           Thereisno requirementthatthedeath resulting from theuseofthecontrolled substance

     dispensed wasareasonably foreseeableevent,orthatthe controlled substancewastheproxim ate

     cause ofthe death.
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            lt'saFederalcrimeto conspireto engagein m oney laundering ortransactionsinvolving

    theproceedsofspecified tmlawfulactivitythatviolatesTitle 18,United StatesCode,Section

    1957.

            ltisaFederalcrim eforanyoneto engagein certain kindsoffinancialtransactions

    comm only known asm oney laundering.HeretheDefendantsarecharged with conspiring to

    knowingly engageand attemptto engagein m onetarytransactionsaffecting interstate and foreign

    commercein criminally derived propertythatwasofa value greaterthan $10,000,which was

    derived from specified unlawfulactivity,inviolation ofTitle 18,United StatesCode,Section

    1957.

            The individualDefendantcan befound guilty ofviolating Title 18,United StatesCode

    Section 1957 only ifa1lthe follow ing are proved beyond a reasonable doubt:

                   the individualDefendantknow ingly engaged orattem pted to engage in a
                   m onetary transaction;


            2.     theindividualDefendantknew thetransaction involved property orfundsthat
                   weretheproceedsofsom ecrim inalactivity;

            3.     theproperty had avalue ofm orethan $10,000;

            4.     theproperty wasin factproceedsofthe feloniousreceiving,buying,selling,and
                   otherwise dealing in a controlled substance;and


            5.     the transaction took place in the United States.

            The term ttm onetary transaction''m eansthe deposit,w ithdrawal,transfer,exchange of

    funds ora m onetary instrum ent.
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          Theterm ççproceeds''m eansany propertyderived from orobtained orretained,directlyor

   indirectly,through som eform ofunlawfulactivity,includingthegrossreceiptsoftheactivity.

           ltdoesn'tm atterwhethertheindividualDefendantknew theprecise natlzreofthe crim e

   orthattheproperty camefrom comm itting thepossession withthe intentto distributeorthe

   distribution ofa controlled substance.ButtheGovernmentmustprovethatthe individual

   Defendantknew thattheproperty involved inthem onetarytransaction wasobtained orderived

    from com m itting som e crim e.

           Also,itdoesn'tmatterwhethera11theproperty involvedwasderived from acrime.The

    Governmentonlyhasto provethat$10,000worth ofproperty wasobtained orderivedfrom

    committing acrim e.

           ttlnterstateorforeign comm erce''meanstradeand otherbusinessactivity between people

    orbusinessesin atleasttwo statesorbetween people orbusinessesintheUnited Statesand

    peopleorbusinessesoutsidethe United States.

            To Ctknow thatthemoney orproperty involved in thetransaction cam efrom som ekind of

    unlawfulactivity''isto know thatthe money orproperty came from an activitythat'sa felony

    understate,federal,orforeign law .

            Theterm çéproceeds''meansanyproperty derived from orobtained orretained,directly or

     indirectly,through some form ofunlawfulactivity,including the grossreceiptsoftheactivity.

            ln thiscase,thespecified unlawfulactivity isthefeloniousreceiving,buying,selling,and

     otherwise dealing in acontrolled substance.
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           As1said earlier,açsconspiracy''isan agreem entby two orm orepersonsto comm itan

    unlawfulact.ln otherwords,itisakind ofpartnership forcriminalpum oses.Everym emberof

    theconspiracybecomestheagentorpartnerofeveryothermember.

          The Govenzm entdoesnothaveto provethata11ofthepeoplenam ed in the Second

    Supersedinglndictmentwerem embtrsoftheplan,orthatthosewho werem em bersmade any

    kind offormalagreem ent.Theheartofa conspiracy isthem aking oftheunlawfulplan itself,so

    the Governm entdoesnothaveto provethatthe conspiratorssucceeded in canying outtheplan.

          The Defendantscan befound guilty only ifa1lofthefollowing factsareproved beyond a

    reasonable doubt:

                 two ormorepeoplein som eway agreed to try toaccom plish a com mon and
                 unlawfulplan to violate Title 18U.S.C.Section 1957;and

                 the individualDefendantknew aboutthe plan'sunlaw fulpurpose and w illfully
                 joined init.

           A person may be aconspiratoreven withoutknowing a1lthedetailsofthe unlawfulplan

    orthenam esand identitiesofalltheotheralleged conspirators.

           IftheindividualDefendantplayed only aminorpartin theplan buthad a general

    understandingoftheunlawfulpurposeoftheplan-andwillfullyjoinedintheplanon atleast
    one occasion -that'ssufficientforyou to find the individualDefendantguilty.

           Butsim ply being presentatthe scene ofan eventorm erely associating with certain

    peopleand discussing comm on goalsand interestsdoesn'testablish proofofa conspiracy.Also

    aperson who doesn'tltnow abouta conspiracybuthappensto actin away thatadvancessome

    purposeofonedoesn'tautomatically becom eaconspirator.
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          The1aw recognizesseveralkindsofpossession.A person m ay haveactualpossession,

    constructivepossession,solepossessionorjointpossession.
          'çActualpossession''ofathing occursifaperson knowingly hasdirectphysicalcontrolof

    *t.
    1

          itconstructive possession''ofa thing occurs ifa person doesn'thave actualpossession of

    it,buthasboth thepowerandtheintention to take controloveritlater.

          içsolepossession''ofathing occursifaperson isthe only onetopossessit.

          Sçlointpossession''ofathing occursiftwo ormorepeople sharepossession ofit.

          Theterm itpossession''includesactual,constnzctive,sole,andjointpossession.
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          You'llseethattheSecond Superseding lndictm entchargesthata crim ewascomm itted

    tdon orabout''certain dates.TheGovernmentdoesnothavetoprovethattheoffenseoccurred

    onan exactdate.The Governm entonlyhasto provebeyond areasonabledoubtthatthe crime

    wascom mitted on adatereasonablyclosetothedatesalleged.

          Theword dtknowingly''meansthatan actwasdonevoluntarilyand intentionally and not

    becauseofam istake orby accident.

           Theword itwillfully''m eansthattheactwascomm itted voluntarily and purposely,with

    the intentto do som ethingthelaw forbids;thatis,with thebad purposeto disobey ordisregard

    thelaw .W hile aperson musthaveacted with theintentto do somethingthe 1aw forbidsbefore

    you can find thatthe person acted (twillfully,''theperson need notbeaware ofthe specificlaw or

    nzlethathisorherconductmay beviolating.
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          You'vebeen permittedto takenotesduringthetrial. M ostofyou -perhapsa1lofyou -

   havetaken advantageofthatopportunity.

          You mustuseyournotesonly asam em ory aid during deliberations. You m ustnotgive
   yotlrnotespriority overyourindependentrecollection oftheevidence.Andyou m ustnotallow

    yourselftobeundulyinfluencedbythenotesofotherjurors.
          Iem phasize thatnotesarenotentitled to any greaterweightthan yourm emoriesor

    im pressionsaboutthetestim ony.




                                               26
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         Duringthetrial,chartsand sum marieswereshownto you to assistyou in consideringthe

   evidence. Thechartsand summ ariesarethe contentionsofthepartyoffering them astowhatthe

   evidenceshow s.ltisup toyou to evaluate the information and descriptionson thechartsand

   summariesand itisup to you to detenninehow much weightshould begiven to thisevidence.




                                               27
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          Each countofthe Second Superseding lndictmentchargesa separatecrime. You m ust

   considereach crim eand theevidencerelating to itseparately. And you mustconsiderthecaseof

   each Defendantseparately and individually.Ifyou find aDefendantguiltyofonecrim e,that

   m ustnotaffectyourverdictforany othercrim e.

          1caution you thateach Defendantisonlytrialonly forthespecific crim escharged in the

   Second Superseding lndictment.You'rehereto determ inefrom theevidencein thiscase

   w hethereach D efendantisguilty ornotguilty ofthose specific crim es.

          You mustneverconsiderpunisbmentin any way to decide whethera Defendantisguilty.

   lfm u find aDefendantguilty,thepunishmentisforthe Judge alone to decidelater.




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         Yourverdict,whetherguiltyornotguilty,mustbeunanim ous-in otherwords,you must

   a11agree.Yourdeliberationsare secretsand you'llneverhaveto explain yourverdictto anyone.

         Each ofyou mustdecidethecaseforyourself,butonly afterfully considering the

                                Soyou m ustdiscussthecasewith oneanotherand tryto reach an
   evidencewiththeotherjurors.
   agreement.W hileyou'rediscussingthecase,don'thesitateto reexam ineyourown opinion and

   changeyourmind ifyou becom econvinced thatyou werewrong.Butdon'tgiveup yourhonest

   beliefsjustbecauseothersthinkdifferentlyorbecauseyou simplywanttogetthecaseoverwith.

          Rememberthat,in averyrealway,youarejudges--judgesofthefacts.Yolzronly
   interestisto seek thetruth from the evidencein thecase.




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          W henyougettothejuryroom,chooseoneofyourmemberstoactasforeperson.The
   foreperson willdirectm urdeliberationsand willspeak foryouin court.

          A form ofverdicthasbeen prepared foryourconvenience.

                                          (Explainverdict)

          Taketheverdictfonnwithyoutothejuryroom.W henyou'vea11agreed ontheverdict,
   yourforeperson m ustfillin theform ,sign it,dateit,and carry it. Then you'llreturn itto the

   courtroom .

          Ifyou wishto com municatewith m eatany time,pleasem itedown yourmessageor
    question and giveitto the marshal. Them arshalwillbring itto me and 1'11respond aspromptly

    aspossible-eitherin writing orby talkingto you in the courtroom . But,lcautionyou notto tell

    mehow manyjurorshavevotedonewayortheotheratthattime.
